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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

STRIKE 3 HOLDINGS, LLC,                             :
               Plaintiff,                           :
                                                    :
              v.                                    :       Civ. No. 18-862
                                                    :
JOHN DOE.,                                          :
                          Defendant.                :

                                                ORDER

       AND NOW, this 19th day of March, 2018, upon consideration of Plaintiff Strike 3

Holdings, LLC’s Ex Parte Motion for Leave to Serve Third Party Subpoena Prior to a Rule 26(f)

Conference (Doc. No. 5), it is hereby ORDERED that the Motion is GRANTED as follows:

       1.          Plaintiff may serve on the Internet Service Provider for Defendant a Rule 45

subpoena commanding it to provide Plaintiff with the true name and address of the Defendant to

whom it assigned the IP address at issue. Plaintiff shall attach to any such subpoena a copy of

this Order;

       2.          Plaintiff may also serve a Rule 45 subpoena in the same manner as above on any

Internet Service Provider that is identified in response to a subpoena as a provider of Internet

services to Defendant;

       3.          With respect to any ISP that qualifies as a “cable operator” as defined by 47

U.S.C. § 522(5), this Order further authorizes disclosure of information pursuant to 47 U.S.C.

§ 551(c)(2)(B);

       4.          Plaintiff shall attach the Court-Directed Notice Regarding Issuance of

Subpoena, a copy of which is attached to this Order, to any Rule 45 subpoena;

       5.          Any Rule 45 subpoena shall instruct the ISP to distribute a copy of this Notice to

Defendant within seven (7) days of service of the subpoena;

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       6.      As set forth more fully in the Court-Directed Notice, Defendant shall have twenty-

one (21) days from receipt of the Notice to file a motion to quash or vacate the subpoena. The

ISP shall not release to Plaintiff or its attorneys the Defendant’s identifying information any

sooner than twenty-one (21) days after the ISP has sent the Court-Directed Notice to Defendant;

       7.      If Defendant or an ISP files a motion challenging the subpoena, the ISP shall not

provide any information to Plaintiff or its attorneys without an Order of the Court authorizing the

ISP to produce the requested discovery; and

       8.      Plaintiff shall not disseminate or use any information disclosed in response to a

Rule 45 subpoena for any purpose other than protecting Plaintiff’s rights as set forth in its

Complaint.

                                                                    AND IT IS SO ORDERED.

                                                                    /s/ Paul S. Diamond
                                                                    ________________________
                                                                    Paul S. Diamond, J.




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    COURT-DIRECTED NOTICE REGARDING ISSUANCE OF SUBPOENA
        A subpoena has been issued directing your Internet Service Provider (“ISP”), to disclose
your name. The subpoena has been issued because you have been sued in the United States
District Court for the Eastern District of Pennsylvania in Philadelphia, PA, as a “John Doe” by
Strike 3 Holdings, LLC (“Plaintiff”). This case is identified as Strike 3 Holdings, LLC v.
John Doe subscriber assigned IP address 73.233.11.131. You have been sued for allegedly using
the Internet and the BitTorrent protocol to infringe copyrights. The Plaintiff has identified you
only as a “John Doe” and has served a subpoena on your ISP to learn your identity. This notice is
intended to inform you of some of your rights and options. By authorizing the issuance of this
subpoena, the Court is not making a decision on the merits of the Plaintiff’s allegations.

           YOUR NAME HAS NOT YET BEEN DISCLOSED.
     YOUR NAME WILL BE DISCLOSED IN 21 DAYS IF YOU DO NOT
                 CHALLENGE THE SUBPOENA.
        Your name has not yet been disclosed. The Plaintiff has given the Court enough information
about your alleged infringement to obtain a subpoena to identify you, but the Court has not decided
whether you are liable for infringement. You can challenge the subpoena in Court. You have
twenty-one (21) days from receipt of this notice to file a motion to quash or vacate the subpoena.
If you file a motion to quash the subpoena, your identity will not be disclosed until the motion is
resolved (and the Plaintiff cannot proceed against you until you are identified). The Resource List
below can assist you in locating an attorney to help you determine how to respond to the subpoena.
If you do not file a motion to quash at the end of the 21-day period, your ISP will send the Plaintiff
your identification information.

        OTHER ISSUES REGARDING THE LAWSUIT AGAINST YOU

       Once you are named as a defendant, the Plaintiff must establish jurisdiction over you to
maintain a lawsuit against you in the District Court for the Eastern District of Pennsylvania. If
you do not live or work in Pennsylvania, or visit the state regularly, you may be able to
challenge the Pennsylvania court’s jurisdiction over you.

                                      RESOURCE LIST
        The organizations listed below provide guidance on how to find an attorney. If you live in
or near Pennsylvania or Philadelphia, the second and third listings below provide referrals for local
attorneys. If you need a lawyer in a state other than Pennsylvania, you may contact that state’s bar
association.

•    American Bar Association - http://www.abanet.org.
•    Pennsylvania Bar Association - www.pabar.org; Lawyer referral service - (800) 692-7375 or
     (717) 238-6807.
•    Philadelphia Bar Association - www.philabar.org; Lawyer referral service - (215) 238-6333.


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